Case 8:19-cv-02469-SDM-J_S Document 18 Filed 03/06/20 Page 1 of 2 PageID 126



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF FLORIDA

 Symbology Innovations LLC,

                       Plaintiff,                  Civil Action No. 8:19-cv-2469-T-23-JSS

       v.

                                                   TRIAL BY JURY DEMANDED
 Bloomin’ Brands, Inc.,

                       Defendant.


              NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

       Now comes Plaintiff, Symbology Innovations LLC, by and through the undersigned

counsel, and hereby voluntarily dismisses all of the claims asserted against Defendant Bloomin’

Brands, Inc. in the within action with prejudice. This notice of dismissal pursuant to Civ. R.

41(a)(1) is proper inasmuch as the Defendant has neither answered nor moved for summary

judgement.

Dated: March 6, 2020                          Respectfully submitted,


                                              /s/Howard Wernow
                                              Howard L. Wernow B.C.S.
                                              Sand, Sebolt & Wernow Co., LPA
                                              4940 Munson Street NW
                                              Aegis Tower - Suite 1100
                                              Canton, OH 44718
                                              Phone: 330-244-1174
                                              Fax: 330-244-1173
                                              Email: howard.wernow@sswip.com

                                              Board Certified in Intellectual Property
                                              Law By the Florida Bar

                                              ATTORNEY FOR PLAINTIFF
Case 8:19-cv-02469-SDM-J_S Document 18 Filed 03/06/20 Page 2 of 2 PageID 127




                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing

document has been served on March 6, 2020, to all counsel of record who is deemed to have

consented to electronic service via the Court’s CM/ECF system.


                                               /s/Howard Wernow
                                               Howard L. Wernow
